       Case 19-23116-JAD                       Doc 105         Filed 09/30/24 Entered 09/30/24 16:02:24                        Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              BRADLEY KRILEY


     Debtor 2              TANYA A. KRILEY
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          19-23116JAD




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  PNC BANK NA                                                                      8

 Last 4 digits of any number you use to identify the debtor's account                         3   0   4   8

 Property Address:                             549 NORTH ELM ST
                                               BUTLER PA 16001




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        8,505.57

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        8,505.57

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        8,505.57



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $741.71
         The next postpetition payment is due on                11 / 1 / 2024
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                          page 1
   Case 19-23116-JAD              Doc 105       Filed 09/30/24 Entered 09/30/24 16:02:24                           Desc Main
                                               Document Page 2 of 5



Debtor 1     BRADLEY KRILEY                                                   Case number (if known) 19-23116JAD
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     09/30/2024


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




Form 4100N                                        Notice of Final Cure Payment                                             page 2
   Case 19-23116-JAD           Doc 105    Filed 09/30/24 Entered 09/30/24 16:02:24                        Desc Main
                                         Document Page 3 of 5



Debtor 1     BRADLEY KRILEY                                          Case number (if known) 19-23116JAD
             Name




                                           Disbursement History

Date         Check #    Name                               Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
01/28/2020   1147307    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         474.36
02/25/2020   1150832    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         143.94
03/23/2020   1154315    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         143.94
04/27/2020   1157761    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         204.50
05/26/2020   1161096    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         213.16
06/26/2020   1164258    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                       1,367.71
10/26/2020   1176618    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                          94.06
11/24/2020   1179687    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         297.59
12/21/2020   1182626    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         297.59
01/25/2021   1185617    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                       1,022.22
02/22/2021   1188739    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         297.59
03/26/2021   1192048    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         497.59
04/26/2021   1195283    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         497.59
05/25/2021   1198394    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         497.59
06/25/2021   1201581    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         497.59
07/26/2021   1204782    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                       1,350.09
08/26/2021   1207930    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         583.08
09/24/2021   1211030    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                          25.38
                                                                                                               8,505.57

MORTGAGE REGULAR PAYMENT (Part 3)
10/24/2019   1136996    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                       1,856.05
11/25/2019   1140453    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         804.42
12/23/2019   1143846    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         823.04
01/28/2020   1147307    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         903.27
02/25/2020   1150832    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         731.13
03/23/2020   1154315    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         731.13
04/27/2020   1157761    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         731.13
05/26/2020   1161096    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         731.13
06/26/2020   1164258    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         731.13
07/29/2020   1167351    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                          60.46
08/25/2020   1170429    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                       1,207.72
09/28/2020   1173531    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         801.90
10/26/2020   1176618    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         864.01
11/24/2020   1179687    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.32
12/21/2020   1182626    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.32
01/25/2021   1185617    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.32
02/22/2021   1188739    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.32
03/26/2021   1192048    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.32
04/26/2021   1195283    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.32
05/25/2021   1198394    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.32
06/25/2021   1201581    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.32
07/26/2021   1204782    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.32
08/26/2021   1207930    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.08
09/24/2021   1211030    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.08
10/25/2021   1214106    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.08
11/22/2021   1217142    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.08
12/23/2021   1220217    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.08
01/26/2022   1223280    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.08
02/23/2022   1226152    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.08
03/25/2022   1229124    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.08
04/26/2022   1232162    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.08
05/25/2022   1235205    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.08
06/27/2022   1238228    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.08
07/26/2022   1241164    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         734.08
08/24/2022   1244047    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         749.01
09/27/2022   1246929    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         749.01
10/25/2022   1249730    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         749.01
11/23/2022   1252523    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         749.01
12/22/2022   1255264    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         749.01
01/26/2023   1257996    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         749.01
02/23/2023   1260586    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         749.01
03/28/2023   1263373    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         749.01

Form 4100N                                Notice of Final Cure Payment                                           page 3
   Case 19-23116-JAD           Doc 105    Filed 09/30/24 Entered 09/30/24 16:02:24                        Desc Main
                                         Document Page 4 of 5



Debtor 1     BRADLEY KRILEY                                          Case number (if known) 19-23116JAD
             Name




                                           Disbursement History

Date         Check #    Name                               Posting Type                                         Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
04/25/2023   1266181    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         749.01
05/25/2023   1269051    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         749.01
06/26/2023   1271940    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         749.01
07/25/2023   1274684    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         749.01
08/25/2023   1277466    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         741.71
09/26/2023   1280197    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         741.71
10/25/2023   1282907    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         741.71
11/27/2023   1285585    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         741.71
12/21/2023   1288159    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         741.71
01/26/2024   1290855    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         741.71
02/26/2024   1293499    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         741.71
03/26/2024   1296150    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         341.67
04/25/2024   1298813    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         695.34
06/25/2024   1304046    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                       1,929.83
07/25/2024   1306656    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                       1,715.37
08/26/2024   1309213    PNC BANK NA                        AMOUNTS DISBURSED TO CREDITOR                         540.22
                                                                                                              45,796.88




Form 4100N                                Notice of Final Cure Payment                                           page 4
  Case 19-23116-JAD           Doc 105      Filed 09/30/24 Entered 09/30/24 16:02:24                 Desc Main
                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

BRADLEY KRILEY
TANYA A. KRILEY
549 NORTH ELM STREET
BUTLER, PA 16001

AMY L ZEMA ESQ
2366 GOLDEN MILE HWY #155
PITTSBURGH, PA 15239-2710

PNC BANK NA
3232 NEWMARK DR
MIAMISBURG, OH 45342

KML LAW GROUP PC** (FRMRLY BRIAN C. NICHOLAS ESQ )
C/O DENISE CARLON ESQ
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




9/30/24                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




Form 4100N                                   Notice of Final Cure Payment                                     page 1
